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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                            :
D.S.B. and D.A.B., by their next friend and :   CIVIL ACTION No.___________________
parent, C.B.,                               :
                                            :
                     Plaintiffs,            :
                                            :   ELECTRONICALLY FILED
              v.                            :
                                            :
PITTSBURGH PUBLIC SCHOOLS,                  :
                                            :
                     Defendant.             :   COMPLAINT IN CIVIL ACTION
                                            :
                                            :
                                            :   Filed on behalf of Plaintiffs:
                                            :   D.S.B., D.A.B., and C.B.
                                            :
                                            :   Counsel of Record for this Party:
                                            :
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                                            :
                                            :
                                            :   JURY TRIAL DEMANDED
                                            :
                                            :
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

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D.S.B. and D.A.B., by their next friend and :        CIVIL ACTION No.___________________
parent, C.B.,                               :
                                            :
                     Plaintiffs,            :
                                            :        ELECTRONICALLY FILED
              v.                            :
                                            :        JURY TRIAL DEMANDED
PITTSBURGH PUBLIC SCHOOLS,                  :
                                            :
                     Defendant.             :

                              COMPLAINT IN CIVIL ACTION

       AND NOW, TO WIT, this 5th day of August, 2013, D.S.B. and D.A.B., and C.B.,

Plaintiffs, by and through their attorney, CHARLES E. STEELE, Esquire, file this Complaint in

Civil Action against the PITTSBURGH PUBLIC SCHOOLS, Defendant, and in support thereof

avers as follows:

                               JURISDICTION AND VENUE

   1. This action arises in part under Title IX of the Education Amendments Act of 1972 (20

       U.S.C. § 1681 et seq.) and Title VI of the Civil Rights Act of 1964 (42 U.S.C. § 2000d et

       seq.).

   2. Jurisdiction is conferred on the Court by 28 U.S.C. §1331.

   3. Venue in this District is proper under 28 U.S. C. §1391(a).

                                           PARTIES

   4. The Plaintiff D.S.B. and D.A.B. (hereinafter “Plaintiffs,” “Plaintiff D.S.B.,” or “Plaintiff

       D.A.B.”), are sisters and Pittsburgh Public School students who reside in Pittsburgh, PA.




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5. Plaintiff C.B. is Plaintiffs’ D.S.B. and D.A.B.’s mother and reside with them in

   Pittsburgh, PA.

6. The Defendant herein is Pittsburgh Public Schools (hereinafter, “Defendant"), a public

   school district having an address at 341 S. Bellefield Ave. Pittsburgh, PA 15213.

                              FACTUAL BACKGROUND

7. Plaintiffs are students at John Morrow Elementary School, an Elementary School in

   Defendant School District.

8. Plaintiff D.S.B. is an eleven-year-old female student who completed the fifth grade in

   June 2013. Plaintiff D.A.B. is an eight-year-old female student who completed the

   second grade in June 2013.

9. Plaintiffs are African-American. Plaintiff D.S.B. has a darker complexion than her

   African-American peers. Conversely, Plaintiff D.A.B. has a lighter complexion than her

   siblings, including Plaintiff D.S.B., and her African-American peers.

10. Plaintiffs moved into the area served by John Morrow Elementary School in January

   2012.

11. In the 2011-2012 school year, Defendant provided school bus transportation for students

   that lived in Plaintiffs’ neighborhood.

12. However, on the first two mornings of the 2012-2013 school year, Plaintiffs waited for

   the school bus, but it did not arrive.

13. Upon information and belief, Defendant never informed Plaintiffs that a school bus

   would not come to pick Plaintiffs up for school.




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14. The lack of transportation forced Plaintiffs to walk approximately one mile to and from

   school on Shadeland Avenue, which is located in the Brighton Heights neighborhood of

   Pittsburgh.

15. In September 2012, R.H., an African-American male student at John Morrow

   Elementary, slapped Plaintiff D.A.B. in the head while they were in front of the school.

16. Upon information and belief, R.H. slapped Plaintiff D.A.B. because her skin tone is

   lighter than his. Out of self-defense, Plaintiff D.A.B. kicked RH between the legs.

17. This incident caused R.H. and several of his male friends to increase the level of

   harassment towards Plaintiffs.

18. Specifically, R.H. recruited several John Morrow students to form a group whose purpose

   was to harass and bully Plaintiffs in and out of school because Plaintiffs were female and

   had different skin tones than R.H.

19. Following the September 2012 incident, R.H. and the other boys started to follow

   Plaintiffs home from school on a daily basis.

20. On the walks home from school, the boys would pick up any item they could find to

   throw at Plaintiffs, including rocks and sticks.

21. The boys ripped Plaintiffs’ clothes off of their bodies in an attempt to see inside their

   pants and tore earrings out of Plaintiffs’ ears on the way home from school.

22. The boys also kicked, pushed, and punched Plaintiffs on their way home from school.

23. Plaintiffs often arrived home from school covered in dirt and blood due to the violent

   attacks.

24. Upon information and belief, the boys bullied Plaintiffs due to the fact that Plaintiffs

   were female and had a different skin tone than the boys.




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25. The violence against Plaintiffs initiated in September and continued throughout the entire

   2012-2013 school year.

26. On or about September 20, 2012, several of the boys walked down to Plaintiffs’ house

   after school and threw rocks and glass bottles in the window intending to harm Plaintiffs.

   This action destroyed the front window of Plaintiffs’ house.

27. Plaintiffs also endured significant verbal abuse from their classmates both in and out of

   school throughout the 2012-2013 school year.

28. The bullies’ disdain for the Plaintiffs’ gender and skin tone is evident from the verbal

   abuse and sexual harassment the bullies inflicted upon Plaintiffs.

29. For instance, the aforementioned boys and other students at John Morrow frequently

   called Plaintiff D.S.B. names that referred to her darker skin tone. Such names include,

   but are not limited to: “blackey,” “crispy,” “nigger,” “darkie,” and “black African bush

   bunny.”

30. The same bullies often targeted Plaintiff D.A.B. for her lighter skin by saying that

   Plaintiff D.A.B. was adopted because her skin is lighter than her sister’s.

31. The aforementioned students also sexually harassed Plaintiffs with derogatory terms that

   refer to Plaintiffs’ gender. Such terms include, but are not limited to: “bitch,” “whore,”

   “slut,” “smut,” “cunt,” “pussy.”

32. The students also sexually harassed Plaintiffs by accusing them of committing acts that

   are sexual in nature. For instance, several of the students would tease Plaintiff D.A.B.,

   claiming that Plaintiff enjoys drinking her brother’s urine. They would also refer to

   Plaintiff D.S.B. as “African booty licker,” and “dick licker.”




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33. During school and the walks home from school, the aforementioned students frightened

   Plaintiffs and threatened Plaintiffs’ lives and home, often threatening to burn Plaintiffs’

   house down while they slept.

34. The aforementioned bullying of Plaintiffs began in September 2012 and consisted of

   physical bullying, name-calling, and sexual harassment, which resulted in physical

   injuries and emotional distress to Plaintiffs.

35. Several of Plaintiffs’ teachers, including, but not limited to, Ms. Moots, Ms. DeLawder,

   and Ms. Smith witnessed the sexual harassment, name-calling, and physical bullying

   inflicted upon Plaintiffs. Upon information and belief, none of the aforementioned

   teachers acted to curb the bullying aside from verbally reprimanding the bullies.

36. On or about October 23, 2012, the Plaintiffs’ mother grew increasingly upset and

   frustrated with the incessant and discriminatory bullying and sexual harassment of her

   daughters. She contacted Defendant’s Parent Hotline in order to receive help for her

   daughters.

37. The Plaintiffs’ mother spoke to Parent Hotline employees Harriet Webb and Nicole

   Stallworth about the bullying and sexual harassment. Webb forwarded the information to

   John Morrow Principal Alivia Clark and Assistant Superintendent Christiana Otuwa.

38. Upon information and belief, after receiving the information about the bullying and

   sexual harassment of Plaintiffs, Clark merely called the boys’ parents to discipline them.

39. On or about November 1, 2012, Guidance Counselor Jerri Taylor emailed teacher

   Margaret Molnar-Smith and suggested that Molnar-Smith keep Plaintiff D.A.B. out of the

   “intervention room.” Taylor further suggested that Molnar-Smith take any bullying and

   sexual harassment allegations mentioned by Plaintiff D.A.B. seriously.




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40. Upon information and belief, school employees including Clark, Molnar-Smith, Otuwa,

   and new Principal Jamie Kinzel-Nath did not act further to curb the bullying and sexual

   harassment addressed in the aforementioned November 2012 email correspondence until

   February 2013.

41. On or about February 12, 2013, Plaintiffs’ mother called then-Assistant Principal Carla

   Berdnik to report the ongoing and persistent bullying and sexual harassment.

42. Upon information and belief, Berdnik merely suspended one of the boys for three days

   from school with charges pending and notified his parents. Berdnik also referred the

   aforementioned boy to the Mercy Behavior program.

43. On or about February 13, 2013, Berdnik contacted Defendant School Police Commander

   Lisetta Novicki. Novicki informed Berdnik that the school police would dispatch an

   officer to the school upon Plaintiffs’ arrival.

44. Upon information and belief, the aforementioned police officer never arrived.

45. Plaintiffs’ mother repeatedly attempted to contact school administrators, the school

   police, and the city police from October 2012 throughout the entire school year for help

   with the bullying and sexual harassment.

46. Upon information and belief, none of the aforementioned groups did anything to help

   Plaintiffs, except for suspending the bullies and harassers and calling their respective

   parents.

47. Several of the boys have attended court in front of the city magistrate, as well. However,

   the magistrate only verbally reprimanded the boys for bullying and sexually harassing

   Plaintiffs.




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48. Plaintiffs’ mother grew increasingly frustrated with the lack of effective remedies to

   prevent or stop the bullying and sexual harassment of her daughters throughout the 2012-

   2013 school year.

49. Defendant District and its employees were aware that the conduct of the students directed

   towards Plaintiffs was detrimental to Plaintiffs’ ability to pursue the educational

   opportunities and benefits provided by the Pittsburgh Public Schools.

50. Under Defendant’s district policy and student code of conduct, Defendant District has the

   responsibility of ensuring that the pupils of its school are not the victims of sexual

   harassment and bullying within the school setting.

51. In Defendant District’s policy, “215. Prohibition Against Bullying/Harassment,” “in

   school,” “on school grounds,” and “traveling to and from school” are included in the

   definition of “school setting.”

52. Throughout the 2012-2013 school year, employees and Administrators of Defendant

   District continued to deflect the responsibility of keeping students, such as Plaintiffs, safe

   from bullying and sexual harassment.

53. After much ineffective correspondence between Plaintiffs’ mother and school employees,

   Defendant’s legal department commenced an investigation of the student bullying and

   sexual harassment towards Plaintiffs.

54. As a part of the investigation, Defendant’s legal department issued a letter to Plaintiffs’

   mother, dated May 31, 2013, in which the legal department revealed its findings.

55. First, the legal department found that Plaintiffs “were the subjects of bullying as defined

   by District policy on multiple occasions involving different bullies.”




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56. Second, the department found that “[D.S.B.] was the subject of sexual harassment on at

   least on (sic) occasion.”

57. Third, the department found that “the incidents identified in the complaint constitute

   violations of the District’s policy prohibiting bullying/harassment.”

58. Fourth, the department found that “the school investigated all of the incidents identified

   in the complaints.”

59. Fifth, the department found that “the school appropriately disciplined other students for

   their inappropriate behavior.”

60. Defendant’s legal department suggested peer safety patrols, student awareness programs,

   staggered release times for Plaintiffs, and a school contact for Plaintiffs to remedy the

   bullying and sexual harassment.

61. As of July 2013, upon information and belief, Defendant has not implemented any of the

   aforementioned changes.

62. Defendant’s legal department also suggested that Plaintiffs transfer schools in the 2013-

   2014 school year.

63. Plaintiffs and their mother believe that these proposed corrective measures are patently

   inadequate to remedy the bullying and sexual harassment of Plaintiffs.

64. The bullying and sexual harassment persisted to the end of school in June 2013.

65. The bullying of Plaintiffs continued in July 2013 in connection with Plaintiffs’

   attendance at the Defendant-run summer camp, “Summer Dreamers,” at Pittsburgh

   Classical Academy.

66. Several of the students who harassed and bullied Plaintiffs throughout the school year

   continued to do so on one bus ride home from camp.




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67. Specifically, the students pushed, punched, spat on, sat on, and physically harassed

   Plaintiffs because of their skin color and gender.

68. The students on the bus continued to verbally abuse Plaintiffs just as they did in school.

   Students called Plaintiffs “bitches,” yelled at Plaintiffs, and told them to get off the bus.

69. The students also harassed Plaintiff D.S.B. by referring to Plaintiff D.S.B.’s skin color,

   calling her “burnt and crispy.”

70. Plaintiffs suffered from bruises, lumps, and welts on their heads and faces arising from

   this incident.

71. The conduct of Plaintiffs’ peers throughout the school year negatively affected Plaintiffs,

   and Plaintiffs have suffered severe emotional distress due to the bullying and sexual

   harassment.

72. Plaintiffs were too afraid to attend school due to the bullying and sexual harassment.

73. Plaintiffs each missed over a month of school during the 2012-2013 school year due to

   fear.

74. Plaintiffs’ grades suffered significantly since the bullying and sexual harassment started.

75. Prior to the bullying and sexual harassment at John Morrow, Plaintiffs enjoyed attending

   school. However, once the bullying and sexual harassment commenced, Plaintiffs

   feigned illnesses and made up excuses to avoid the bullying and sexual harassment within

   and outside of school.

76. Plaintiff D.A.B. often hid from her mother in order to avoid school.

77. Plaintiffs cried about the bullying and sexual harassment and have experienced mental

   and emotional breakdowns because of the bullying and sexual harassment.




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 78. Plaintiff D.A.B. experienced significant anxiety due to the bullying and sexual

    harassment. Specifically, Plaintiff D.A.B. forced herself to vomit and urinated on herself

    due to the severe anxiety.

 79. Plaintiff D.S.B. has expressed depression-like symptoms and suicidal thoughts that stem

    from the bullying and sexual harassment and is in the process of seeking private

    assistance to deal with her mental anguish.

                                   COUNT ONE
Hostile Educational Environment Under Title IX of the Education Amendments Act of
                           1972 (20 U.S.C. § 1681 et seq.)

 80. Plaintiffs hereby incorporate the previous paragraphs by reference as if fully set forth

    herein.

 81. The Defendant District is a public school district that receives federal funding.

 82. Defendant District is charged with ensuring that pupils receive an education free from

    discrimination on the basis of sex.

 83. Plaintiffs experienced such discrimination in the form of physical and verbal sexual

    harassment from their peers, which caused them severe mental anguish.

 84. The conduct of Plaintiffs’ peers amounted to intentional sexual harassment.

 85. The sexual harassment occurred in circumstances where Defendant District exercised

    substantial control over both the harassers and the context in which the harassment

    occurred.

 86. Defendant District had substantial control over the sexual harassment of Plaintiffs

    because at all relevant times, sexual harassment occurred within the “school setting” as

    defined by Defendant’s policy, “215. Prohibition Against Bullying/Harassment.”




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87. Defendant had actual knowledge of the sexual harassment of Plaintiffs, which is

   evidenced by the fact that several employees and administrators of Defendant District

   personally witnessed the sexual harassment against Plaintiffs.

88. At all relevant times, Defendant had knowledge of the sexual harassment of Plaintiffs due

   to Plaintiffs’ mother contacting several administrators and employees of Defendant

   school district about the harassment on multiple occasions.

89. By failing to adequately remedy the continuous and pervasive sexual harassment suffered

   by Plaintiffs throughout the 2012-2013 school year, Defendant’s actions amounted to

   deliberate indifference.

90. The sexual harassment by students of Defendant District was so severe, pervasive, and

   objectively offensive that it deprived Plaintiffs access to the educational opportunities

   and benefits provided by the school.

91. As a result of the sexual harassment and bullying, Plaintiffs D.S.B. and D.A.B. felt

   extremely uncomfortable at school and experienced severe and pervasive physical and

   emotional distress.

92. At all times, Defendant, through the general knowledge and awareness of Defendant

   administrators and employees, knew or should have known that the Plaintiffs were being

   sexually harassed, but failed to take any effective action to ameliorate the problem.

93. As a result of the aforementioned sexual harassment, Plaintiffs suffered a significant

   decrease in the quality of their grades, suffered extreme emotional distress, and were

   unable to fully take advantage of the educational opportunities available to them in the

   Pittsburgh Public School District.




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WHEREFORE, Plaintiff prays this Honorable Court grant Plaintiffs money damages in an

amount that adequately compensates them for their damages, attorneys’ fees, costs, and other

damages established by Plaintiffs that are related to Defendants’ illegal acts.

                                   COUNT TWO
Hostile Educational Environment Under Title VI of the Civil Rights Act of 1964 (42 U.S.C.
                                  § 2000d et seq.)

   94. Plaintiffs hereby incorporate the previous paragraphs by reference as if fully set forth

       herein.

   95. The Defendant District is a public school district that receives federal funding.

   96. Defendant District is charged with ensuring that pupils receive an education free from

       discrimination based upon skin color.

   97. Plaintiffs experienced such discrimination in the form of physical and verbal bullying

       from their peers due to the color of their skin, which caused Plaintiffs severe mental

       anguish.

   98. The conduct of Plaintiffs’ peers amounted to intentional discrimination based upon color.

   99. The bullying occurred under circumstances in which Defendant District exercised

       substantial control over both the bullies and the context in which the bullying occurred.

   100.          Defendant District had substantial control over the bullying of Plaintiffs, because

       at all relevant times, the bullying occurred within the “school setting” as defined by

       Defendant’s policy, “215. Prohibition Against Bullying/Harassment.”

   101.          Defendant had actual knowledge of the bullying of Plaintiffs, which is evidenced

       by the fact that several employees and administrators of Defendant District personally

       witnessed the bullying.




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   102.        At all relevant times, Defendant had knowledge of the bullying of Plaintiffs due to

       Plaintiffs’ mother contacting several administrators and employees of Defendant school

       district on multiple occasions.

   103.        By failing to adequately remedy the continuous and pervasive bullying suffered

       by the Plaintiffs, Defendant’s actions amounted to deliberate indifference.

   104.        The bullying by students of Defendant District was so severe, pervasive, and

       objectively offensive that it deprived Plaintiffs access to the educational opportunities

       and benefits provided by the school.

   105.        As a result of the harassment and bullying, Plaintiffs D.S.B. and D.A.B. felt

       extremely uncomfortable at school and experienced severe and pervasive physical and

       emotional distress.

   106.        At all times, Defendant, through the general knowledge and awareness of

       Defendant’s administrators and employees, knew or should have known that the Plaintiffs

       were being bullied due to color, but failed to take any effective action to ameliorate the

       problem.

   107.        As a result of the aforementioned bullying, Plaintiffs suffered a significant

       decrease in the quality of their grades, suffered extreme emotional distress, and were

       unable to fully take advantage of the educational opportunities available to them in the

       Pittsburgh Public School District.

WHEREFORE, Plaintiff prays this Honorable Court grant Plaintiffs money damages in an

amount that adequately compensates them for their damages, attorneys’ fees, costs, and other

damages established by Plaintiffs that are related to Defendants’ illegal acts.




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                                   Respectfully submitted,

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